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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


Rhett Linville                                         )
539 W. 2nd St., Apt. 11-B                              )
Washington, MO 63090,                                  )
                                                       )
                        Plaintiff,                     )
                                                       )      Case No. 4:10-cv-01577
vs.                                                    )
                                                       )
NCO Financial Systems, Inc.                            )
                                                       )
                                                       )
                                                       )
                        Defendant.                     )
                                         Notice of Settlement

        Plaintiff notifies the Court that the matter has been settled and requests the Court continue

the case for thirty days for stipulation for dismissal to be filed.



                                                   Respectfully submitted,


                                                    /s/ Steven R. White
                                                    _____________________________________
                                                    Purschke, White, Robinson & Becker LLC
                                                    STEVEN R. WHITE #45595MO, MBE 45595
                                                    316 E. Locust
                                                    Union, Missouri 63084
                                                    white@purschkewhite.com
                                                    (636) 583-5760 Fax: (866)804-1569
                                                    ATTORNEY FOR PLAINTIFF




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